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                                                                          9                            UNITED STATES DISTRICT COURT
                                                                         10                          CENTRAL DISTRICT OF CALIFORNIA
MALTZMAN & PARTNERS




                                                                         11 KEN AND MARLA SALTZSTINE,                  CASE NO.: 2:20-CV-04997-RGK-SK
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                                                                              individually,
                                                                         12
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                                                                                                                       DEFENDANT PRINCESS CRUISE
                                                                         13                   Plaintiff,               LINE LTD.’S MOTION TO DISMISS
                                   ENCINITAS, CA 92024




                                                                              vs.                                      PLAINTIFFS’ COMPLAINT
                                                                         14
                                                                                                                       Date: August 31, 2020
                                                                         15 PRINCESS CRUISE LINES, LTD., a             Time: 9:00 a.m.
                                                                                                                       Judge: Hon. R. Gary Klausner
                                                                         16 Bermuda corporation,                       Courtroom: 850
                                                                         17                   Defendants.              Magistrate: Hon. Steve Kim
                                                                         18                                            Filed: 06/05/2020
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                                                                          1         Defendant, PRINCESS CRUISE LINES, LTD. (“PRINCESS”) hereby files
                                                                          2 its Motion to Dismiss the Complaint. This motion is made following several

                                                                          3 conferences pursuant to L.R. 7-3 between June 24, 2020 and July 24, 2020.

                                                                          4 I.      INTRODUCTION
                                                                          5         Plaintiffs ask this Court to recognize an unprecedented theory of liability for
                                                                          6 emotional distress, unmoored from any physical harm, that is squarely foreclosed by

                                                                          7 Supreme Court precedent. This Court has previously found, Plaintiffs’ theory would

                                                                          8 open the door to open-ended liability for every business, school, church, and

                                                                          9 municipality across America, stalling economic recovery in the wake of the

                                                                         10 COVID-19 pandemic and complicating the ability of businesses to reopen.
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                                                                         11 Weissberger v. Princess Cruise Lines, Ltd., 2:20-CV-02328-RGK-SK, 2020 WL
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                                                                         12 3977938 (C.D. Cal. July 14, 2020). Consistent with Supreme Court and Ninth
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                                                                         13 Circuit precedent, this Court should reject Plaintiffs’ attempt to expand emotional
                                   ENCINITAS, CA 92024




                                                                         14 distress liability and dismiss the Complaint.

                                                                         15         Plaintiffs are among over 150 individuals who have filed nearly identical
                                                                         16 lawsuits against Defendant for emotional distress based on their fear that they might

                                                                         17 have contracted COVID-19 during their cruise. Like dozens of virtually identical

                                                                         18 cases, many of which this court has previously dismissed, Plaintiffs embarked the

                                                                         19 Grand Princess cruise ship on February 21, 2020. (Compl. ¶ 11); Weissberger,

                                                                         20 supra. Plaintiffs do not claim they contracted COVID-19, suffered any symptoms of

                                                                         21 COVID-19, or that they ever came into direct contact with the virus or anyone who

                                                                         22 had it. Accepting Plaintiffs’ allegations as true for the purposes of this Motion to

                                                                         23 Dismiss, the Complaint makes clear that Plaintiffs’ claims fail as a matter of law.

                                                                         24         The Supreme Court has held a plaintiff cannot recover for emotional distress
                                                                         25 stemming from potential exposure to a disease “unless, and until, he manifests

                                                                         26 symptoms of a disease.” Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424,
                                                                         27 427 (1997). This rule applies to claims of emotional distress brought under federal

                                                                         28 maritime law. Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358 (S.D. Fla.

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                                                                              DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                          1 2018). Supreme Court precedent requires dismissal here, because Plaintiffs do not

                                                                          2 plausibly claim that they either contracted COVID-19 or had sufficient symptoms of

                                                                          3 disease to establish they had contracted the virus. The Supreme Court has reaffirmed

                                                                          4 this rule precisely to avoid the oppressive societal costs that would occur if claims

                                                                          5 like Plaintiffs’ could go forward, and explained, “contacts, even extensive contacts,”

                                                                          6 with potential carriers of diseases “are common.” Metro-North, 521 U.S. at 434.

                                                                          7 Unlike with physical injury, “there are no necessary finite limits on the number of

                                                                          8 persons who might suffer emotional injury” as a result of fear of contracting an

                                                                          9 illness. Consolidated Rail Corp. v. Gottshall, 512 U.S. 532, 546 (1994). If anyone

                                                                         10 potentially exposed to a contagion could obtain damages for emotional distress,
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                                                                         11 “[t]he large number of those exposed and the uncertainties that may surround
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                                                                         12 recovery” would prompt a “flood” of lawsuits, Metro-North, 521 U.S. at 434, and
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                                                                         13 would lead to “the very real possibility of nearly infinite and unpredictable liability
                                   ENCINITAS, CA 92024




                                                                         14 for defendants.” Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 146 (2003).

                                                                         15         As of the date of filing this brief, over 4.5 million cases of COVID-19 have
                                                                         16 been confirmed in the United States alone and 17.3 million cases worldwide.1

                                                                         17 Businesses across America have inevitably had cases on their premises. If Plaintiffs’

                                                                         18 theory of liability succeeds, then all of the millions of individuals who passed

                                                                         19 through those venues can similarly claim to have suffered emotional distress if they

                                                                         20 learn that another person who was later diagnosed with COVID-19 was present.

                                                                         21 Straightforward application of the Supreme Court’s rules governing these fear of

                                                                         22 disease claims will prevent this cataclysmic result.

                                                                         23         There is a second independent barrier to Plaintiffs’ claims: In addition to
                                                                         24 requiring that a plaintiff contract the disease or at least show sufficient symptoms to

                                                                         25 suggest the plaintiff has contracted the disease, courts further require that the

                                                                         26 plaintiff’s fear must give rise to serious physical consequences before emotional
                                                                         27
                                                                              1
                                                                             See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease Control and
                                                                         28 Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.

                                                                                                                          2
                                                                              DEFENDANT’S MOTION TO DISMISS                                       2:20-CV-04997-RGK-SK
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                                                                          1 distress damages can be recovered. Plaintiffs here do not claim a diagnosis of

                                                                          2 COVID-19, symptoms suggesting they contracted the virus, or the requisite serious

                                                                          3 physical consequences stemming from their alleged emotional distress.

                                                                          4         If individuals in Plaintiffs’ situation can recover, businesses, school, churches
                                                                          5 and other venues across America will be forced to keep their doors closed, lest they

                                                                          6 risk crushing liability to each and every one of their invitees for emotional distress,

                                                                          7 based on the mere possibility of infection, because someone was later discovered to

                                                                          8 have the virus. The Supreme Court’s limits on emotional distress for fear of disease

                                                                          9 claims are intended to avoid exactly that result, and a straightforward application of

                                                                         10 those limits here mandates dismissal.
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                                                                         11 II.     LEGAL STANDARD
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                                                                         12         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
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                                                                         13 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
                                   ENCINITAS, CA 92024




                                                                         14 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                         15 above the speculative level, … on the assumption that all the allegations in the

                                                                         16 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                         17 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                         18 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                         19 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                         20 action will not do.” Id.

                                                                         21 III.    MEMORANDUM OF LAW
                                                                         22         Recognizing the potential for widespread liability in fear-of-disease cases,
                                                                         23 courts apply two strict limits on such cases. First, the Supreme Court has held that a

                                                                         24 plaintiff cannot recover for emotional distress stemming from alleged exposure to an

                                                                         25 illness “unless, and until, he has symptoms of a disease.” Metro-North, 521 U.S. at

                                                                         26 426-27. Second, courts independently require that a plaintiff plausibly allege serious
                                                                         27 physical manifestations of their purported emotional distress. Plaintiffs have not

                                                                         28 plausibly alleged either symptoms or a physical manifestation of their distress, and

                                                                                                                        3
                                                                              DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04997-RGK-SK
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                                                                          1 thus their case must be dismissed under Rule 12(b)(6). Even if Plaintiffs’ claims

                                                                          2 survive, their Complaint should be dismissed based on its failure to allege any facts

                                                                          3 showing Plaintiffs ever came into actual contract with the virus and their request for

                                                                          4 punitive damages should be dismissed or stricken. Plaintiffs’ breach-of-contract

                                                                          5 claim fails to set forth the required elements. Plaintiffs’ state law based claim alleges

                                                                          6 an inapplicable standard of care and is preempted by maritime law. Finally, the

                                                                          7 Complaint should be dismissed as it runs afoul of the Rule 8 pleading standard.

                                                                          8       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                          9         As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction and
                                                                         10 stating that the case “involves a maritime tort” (Compl. ¶ 3), Federal maritime law
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                                                                         11 applies to Plaintiffs’ claims.2 Maritime law applies when “(1) the alleged wrong
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                                                                         12 occurred on or over navigable waters, and (2) the wrong bears a significant
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                                                                         13 relationship to traditional maritime activity.” Williams v. United States, 711 F.2d
                                   ENCINITAS, CA 92024




                                                                         14 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a vessel on navigable

                                                                         15 waters” is      a “traditional maritime activity sufficient to invoke maritime
                                                                         16 jurisdiction.’” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th Cir. 2005)

                                                                         17 ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S.

                                                                         18 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n.

                                                                         19 10 (11th Cir. 1991) (“In maritime tort cases such as this one, in which injury occurs

                                                                         20 aboard a … ship upon navigable waters, federal maritime law governs the

                                                                         21 substantive legal issues.”).

                                                                         22       B. Plaintiffs Fail to Plausibly Allege They Were Within the Zone of Danger
                                                                         23         Under well-established principles that govern emotional distress claims
                                                                         24 brought under federal maritime jurisdiction, Plaintiffs’ claims should be dismissed.

                                                                         25         1. Plaintiffs Fail to Plausibly Allege That They Contracted and Have
                                                                         26            Suffered Symptoms of The Disease

                                                                         27   2
                                                                               Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime law. See,
                                                                         28 https://www.princess.com/legal/passage_contract/plc.html at Section 1.

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                                                                              DEFENDANT’S MOTION TO DISMISS                                         2:20-CV-04997-RGK-SK
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                                                                       1         The Supreme Court has “sharply circumscribed” recovery under federal law
                                                                       2 for “stand-alone emotional distress claims”—i.e., claims of emotional harm that are

                                                                       3 not “brought on by a physical injury or disease”—by requiring that the plaintiff be

                                                                       4 within the “zone of danger” of defendant’s allegedly negligent conduct. Ayers, 538

                                                                       5 U.S. at 147 (2003). The Supreme Court’s zone of danger test “confines recovery for

                                                                       6 stand-alone emotional distress claims to plaintiffs who: (1) ‘sustain a physical

                                                                       7 impact as a result of a defendant's negligent conduct’; or (2) ‘are placed in

                                                                       8 immediate risk of physical harm by that conduct’—that is, those who escaped

                                                                       9 instant physical harm, but were ‘within the zone of danger of physical impact.’” Id.

                                                                      10 at 146 (emphasis added).
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                                                                      11         In Metro-North, the Supreme Court set forth a more specific, categorical
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                                                                      12 version of the zone of danger test that governs claims of emotional distress based on
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                                                                      13 alleged negligent exposure to a disease. Under Metro-North, a plaintiff alleging
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                                                                      14 emotional distress from such exposure “cannot recover unless, and until, he

                                                                      15 manifests symptoms of a disease.” 521 U.S. at 426-27. There is no liability for

                                                                      16 emotional distress from fear of contracting a disease unless the Plaintiff has been

                                                                      17 diagnosed with the disease or has symptoms to suggest they have the illness.

                                                                      18         The Supreme Court has reaffirmed Metro-North’s rule, explaining in Ayers
                                                                      19 that “emotional distress damages may not be recovered” by “disease-free” plaintiffs.

                                                                      20 538 U.S. at 141. The Court specifically “decline[d] to blur, blend, or reconfigure”

                                                                      21 the “clear line” between “disease-free” plaintiffs, who cannot recover, and those

                                                                      22 “who suffer from a disease,” who can recover under certain conditions. Id.; see also

                                                                      23 id. at 146 (explaining that because the plaintiff in Metro-North “had a clean bill of

                                                                      24 health,” the Court “rejected his entire claim for relief”). The Court made clear that

                                                                      25 its rule applies to any claim based on alleged exposure to a potential source of

                                                                      26 disease—specifically including “germ-laden air.” Metro-North, 521 U.S. at 437.
                                                                      27         By contrast, mere exposure to a contagion is insufficient to establish someone
                                                                      28 is within the required “zone of danger,” under either the “physical impact” prong or

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04997-RGK-SK
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                                                                       1 the “immediate risk of physical harm” prong. In Metro-North, the plaintiff’s

                                                                       2 employer had negligently exposed him to a “massive” and “tangible” amount of

                                                                       3 asbestos, placing him in direct, close contact with asbestos for about an hour a day

                                                                       4 over a three-year period as he removed asbestos from pipes, often “covering himself

                                                                       5 with insulation dust that contained asbestos.” Id. at 427. The plaintiff feared that this

                                                                       6 intense prolonged exposure to asbestos increased his chances of dying from cancer

                                                                       7 and the plaintiff introduced expert testimony supporting that his risk of cancer had

                                                                       8 in fact increased. Id. The Supreme Court nonetheless held that the plaintiff could not

                                                                       9 recover for emotional distress since he did not ultimately contract cancer, holding

                                                                      10 that his exposure to the disease-causing substance alone was insufficient to establish
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                                                                      11 emotional distress liability for fear of contracting a disease. Id. at 430 (quoting
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                                                                      12 Gottshall, 512 U.S. at 547-48). The Court explained that if “a simple (though
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                                                                      13 extensive) contact with a carcinogenic substance” were sufficient to permit
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                                                                      14 recovery, it would not “offer much help in separating valid from invalid emotional

                                                                      15 distress claims.” Id. at 434. “Judges would be forced to make highly subjective

                                                                      16 determinations concerning the authenticity of claims for emotional injury, which are

                                                                      17 far less susceptible to objective medical proof than are their physical counterparts.”

                                                                      18 Gottshall, 512 U.S. at 552.

                                                                      19         In imposing these strict limits on emotional distress claims, the Supreme
                                                                      20 Court contrasted claims where a plaintiff alleges emotional harm “brought on by a

                                                                      21 physical injury[] or disease,” which are not subject to the same zone of danger

                                                                      22 restriction. Ayers, 538 U.S. at 147-48. For example, a plaintiff who has contracted

                                                                      23 asbestosis after asbestos exposure can “seek compensation for fear of cancer as an

                                                                      24 element of his asbestosis-related pain and suffering damages.” Id. at 158. The same

                                                                      25 plaintiff who was exposed to asbestos and who did not contract asbestosis cannot.

                                                                      26         The Supreme Court adopted the strict zone of danger test specifically to avoid
                                                                      27 the “uncabined recognition of claims for negligently inflicted emotional distress,”

                                                                      28 which would “hol[d] out the very real possibility of nearly infinite and unpredictable

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                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04997-RGK-SK
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                                                                       1 liability for defendants.” Ayers, 538 U.S. at 146 (2003) (quoting Gottshall, 512 U.S.

                                                                       2 at 546). Although the Supreme Court decisions developing the zone of danger test

                                                                       3 arose in the context of the Federal Employers’ Liability Act (FELA), the Ninth

                                                                       4 Circuit has held that the test governs all emotional-distress claims, including those

                                                                       5 arising under federal maritime law. See Stacy v. Rederiet Otto Danielsen, A.S., 609

                                                                       6 F.3d 1033, 1035 (9th Cir. 2010); see also, e.g., Chaparro v. Carnival Corp., 693

                                                                       7 F.3d 1333, 1337-38 (11th Cir. 2012) (per curiam) (“federal maritime law has

                                                                       8 adopted ... the ‘zone of danger’ test”).

                                                                       9         This Court has previously applied these same principals to dismiss numerous
                                                                      10 similar “fear of COVID-19” cases to the matter presently at issue. Weissberger,
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                                                                      11 supra. Other cases involving other diseases have been similarly rejected when the
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                                                                      12 plaintiffs did not contract the illness. In Negron, a passenger and her family were
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                                                                      13 disembarked to a hospital in Barbados and claimed that, while at the hospital, they
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                                                                      14 were exposed to Ebola virus. Negron at 1360. The passengers were not allowed to

                                                                      15 return to the ship, which they claim added to their anxiety and they filed suit for

                                                                      16 “severe psychological damages, emotional distress, much personal discomfort,

                                                                      17 uncertainty, fear and lack of safety,” and “undue expenses and costs.” Id. Applying

                                                                      18 Metro-North, the Court dismissed their claim, holding the passengers cannot recover

                                                                      19 for emotional harm when they “do not specify any physical harm for which they

                                                                      20 seek recovery” and there were “no plausible allegations that the Plaintiffs sustained

                                                                      21 a ‘physical impact’ merely by being sent to a hospital” which had Ebola-infected

                                                                      22 patients in the same hospital. Id. at 1362.

                                                                      23         2. Plaintiffs’ Allegations Do Not Satisfy the Zone of Danger Test
                                                                      24         The hard-and-fast rule from Metro-North, precluding a plaintiff’s recovery for
                                                                      25 emotional distress claims “unless, and until, he manifests symptoms of a disease,”

                                                                      26 requires dismissal of this action. 521 U.S. at 427.
                                                                      27         Plaintiffs do not allege that they contracted COVID-19 as a result of exposure
                                                                      28 on the Grand Princess. Nor do they allege any symptoms. Indeed, they do not (and

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04997-RGK-SK
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                                                                       1 cannot) allege that they ever came into close contact with the disease aboard the ship

                                                                       2 such that they faced a probability of contracting it. Rather, Plaintiffs allege only that

                                                                       3 other passengers on their vessel were exposed to passengers who previously had

                                                                       4 disembarked the ship and were later confirmed to be infected with COVID-19.

                                                                       5 Specifically, they state that “at least two passengers” who disembarked from the

                                                                       6 previous cruise “had symptoms of the coronavirus,” and that “sixty two passenger

                                                                       7 on board the Plaintiffs’ cruise … were exposed to the passengers that were

                                                                       8 confirmed to be infected, and later died.” Compl. ¶¶ 36-37. That is nowhere near

                                                                       9 sufficient under Metro-North, which, again, squarely holds that a plaintiff cannot

                                                                      10 recover “unless, and until, he manifests symptoms of a disease.” 521 U.S. at 427.3
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                                                                      11          Even setting aside Metro-North’s categorical rule that requires a diagnosis or
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                                                                      12 symptoms of a disease as a threshold to recovery, Plaintiffs still would not have
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                                                                      13 stated a claim under the zone of danger test. Federal courts routinely dismiss
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                                                                      14 emotional distress claims when the plaintiff has not plausibly alleged that he

                                                                      15 actually suffered a physical impact or faced an imminent threat of physical harm.

                                                                      16 See, e.g., Bonner v. Union Pac., 123 F. App’x 777, 778 (9th Cir. 2005); Smith v.

                                                                      17 Carnival Corp., 584 F. Supp. 2d 1343, 1355 (S.D. Fla. 2008); Crawford v. Nat'l

                                                                      18 R.R. Passenger Corp., No. 3:15-CV-131 (JBA), 2015 WL 8023680, at *12 (D.

                                                                      19 Conn. Dec. 4, 2015); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 759 (M.D.N.C.

                                                                      20 2014); see also, e.g., Goodrich v. Long Island Rail Rd. Co., 654 F.3d 190, 199 (2d

                                                                      21 Cir. 2011) (affirming dismissal of IIED claim where no allegation that plaintiff was

                                                                      22
                                                                           3
                                                                      23    Even if Plaintiffs had alleged symptoms, they would still face an independent bar to show that
                                                                           their fear of contracting COVID-19 was “genuine and serious”—something beyond “general
                                                                      24   concern for [one’s] future health.” Ayers, 538 U.S. at 157-58 (quoting Smith v. A.C. & S., Inc., 843
                                                                           F.2d 854, 859 (5th Cir.1988)); see CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) (plaintiffs
                                                                      25   seeking fear-of-disease damages “must satisfy a high standard in order to obtain them”). Plaintiffs’
                                                                           conclusory allegations that they sustained “injuries,” “pain and suffering,” and “residual
                                                                      26
                                                                           disability,” are insufficient. (Compl. ¶ 21). Significantly, none of these Plaintiffs allege they
                                                                      27   experienced symptoms of the virus. Plaintiffs do not allege their “injuries,” “pain and suffering,”
                                                                           and “residual disability,” were related in any way to COVID-19. Further, these scant claims are
                                                                      28   insufficient to defeat the instant Motion.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                              2:20-CV-04997-RGK-SK
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                                                                       1 in zone of danger). Plaintiffs have not claimed any “physical impact”; again, it is

                                                                       2 black-letter law that an exposure to a source of disease is not a “physical impact”

                                                                       3 under Supreme Court precedent. Metro-North, 521 U.S. at 430.

                                                                       4            Nor have Plaintiffs plausibly alleged an “immediate risk of physical harm.”
                                                                       5 Plaintiffs’ bare assertion that they “are at actual risk of immediate physical injury,”

                                                                       6 is precisely the sort of “[t]hreadbare recital [] of the elements of a cause of action”

                                                                       7 that cannot defeat a motion to dismiss. Ashcroft v. Iqbal, (2009) 556 U.S. 662, 678.

                                                                       8 Even if mere exposure could create an “actual risk” under the zone of danger test—

                                                                       9 and it cannot—Plaintiffs do not allege how, when or where they were exposed to

                                                                      10 COVID-19. Plaintiffs conspicuously fail to assert that they came into direct contact
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                                                                      11 with any person who had COVID-19, and instead assert only that there were other
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                                                                      12 passengers somewhere aboard the ship—one with thousands of passengers and
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                                                                      13 crew—who had come into contact with people who were later discovered to be
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                                                                      14 infected. Plaintiffs’ Complaint alleges no potential route of transmission.

                                                                      15            There are 649 cities in California with populations smaller than the 3,700-
                                                                      16 person population of the Grand Princess.4 If Plaintiffs’ allegation that merely being

                                                                      17 in the same population of 3,700 people is sufficient to satisfy the zone of danger

                                                                      18 requirement, then anyone who lived in any of those 649 cities could become subject

                                                                      19 to emotional distress liability whenever they invited anyone onto their premises if it

                                                                      20 was later discovered someone else in the town had COVID-19.

                                                                      21            Plaintiffs’ failure to allege direct exposure makes their claim doubly deficient
                                                                      22 under Metro-North. The plaintiff in Metro-North had been exposed to asbestos daily

                                                                      23 basis for a three-year period, and still the Court foreclosed recovery. Metro-North,

                                                                      24 521 U.S. at 427. Plaintiffs allege nothing of the sort here.

                                                                      25            Moreover, now that the window of potentially contracting COVID-19 has
                                                                      26 long passed, Plaintiffs’ claim must fail under the widely accepted, independent rule
                                                                      27
                                                                           4
                                                                      28       https://www.california-demographics.com/cities_by_population

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                                                                           DEFENDANT’S MOTION TO DISMISS                                       2:20-CV-04997-RGK-SK
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                                                                       1 that if “at the time the court reviews a claim, a plaintiff who no longer fears

                                                                       2 contracting the disease or that risk, may not pursue a claim for emotional distress

                                                                       3 based on the earlier fear.” Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749, at

                                                                       4 *8 (C.D. Cal. Sept. 28, 2018). This rule, consistent with the zone of danger test,

                                                                       5 ensures that only those whose fears actually manifest in the form of an actual

                                                                       6 diagnosis can recover, in the interest of preventing a “flood” of cases inherently

                                                                       7 “less susceptible to objective medical proof than are their physical counterparts.”

                                                                       8 Gottshall, 512 U.S. at 552.

                                                                       9         Cases that do find an immediate risk of harm provide a helpful contrast to
                                                                      10 Plaintiffs’ inadequate claims here. These cases involve “threatened physical contact
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                                                                      11 that caused, or might have caused, immediate traumatic harm.” Metro-North, 521
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                                                                      12 U.S. at 430 (emphasis added) (collecting cases); see, e.g., Stacy, 609 F.3d at 1035
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                                                                      13 (freighter nearly struck plaintiff’s vessel and then struck another ship, killing its
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                                                                      14 captain); Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23, 39 (1st Cir.

                                                                      15 2018) (plaintiffs were aboard ferry that nearly capsized); In re Clearsky Shipping

                                                                      16 Corp., No. Civ. 96-4099, 2002 WL 31496659, *1 (E.D. La. Nov. 7, 2002) (plaintiff

                                                                      17 was aboard a docked casino boat as a vessel collided with nearby wharf); Hutton v.

                                                                      18 Norwegian Cruise Line Ltd., 144 F.Supp.2d 1325 (S.D. Fla. 2001) (plaintiffs aboard

                                                                      19 ship that collided with another vessel). Courts’ consistent focus on near-miss

                                                                      20 collisions is unsurprising. The Supreme Court in adopting the zone of danger test

                                                                      21 emphasized that it would allow recovery for “emotional injury caused by the

                                                                      22 apprehension of physical impact.” Gottshall, 512 U.S. at 556. In subsequently

                                                                      23 describing the test, it has equated being “placed in immediate risk of physical harm”

                                                                      24 with “escap[ing] instant physical harm.” Ayers, 538 U.S. at 146. Expanding the

                                                                      25 category of “immediate risk” claims to cover alleged exposure to a communicable

                                                                      26 disease which the Plaintiff did not contract would be unprecedented.
                                                                      27         Because Plaintiffs were not within the zone of danger under Metro-North,
                                                                      28 their allegations of emotional distress, no matter how severe, are insufficient to

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                                                                           DEFENDANT’S MOTION TO DISMISS                                 2:20-CV-04997-RGK-SK
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                                                                       1 survive a Motion to Dismiss. In Gottshall, one of the plaintiffs had suffered

                                                                       2 “insomnia, headaches, depression, and weight loss,” followed by a “nervous

                                                                       3 breakdown.” 512 U.S. at 539. The other had experienced “nausea, insomnia, cold

                                                                       4 sweats, and repetitive nightmares,” plus weight loss, anxiety, and suicidal ideations.

                                                                       5 Id. at 536-37. The Supreme Court held that even these significant emotional injuries

                                                                       6 were not compensable because they did not stem from either a physical impact or a

                                                                       7 near-miss physical impact—i.e., neither plaintiff was in the zone of danger. Even

                                                                       8 grave physical results cannot be redressed unless the plaintiff was in the zone of

                                                                       9 danger. Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 757 (M.D.N.C. 2014) (no

                                                                      10 recovery for “self-inflicted gunshot wound” as plaintiff was not in zone of danger).
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                                                                      11         Plaintiffs’ allegations of gross negligence are similarly barred by the Supreme
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                                                                      12 Court’s analysis. Metro-North’s zone of danger test governs all species of tort
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                                                                      13 claims seeking emotional distress, whether or not styled as claims of “negligent
                                   ENCINITAS, CA 92024




                                                                      14 infliction of emotional distress.” See Smith v. Union Pac. R.R. Co., 236 F.3d 1168,

                                                                      15 1171 (10th Cir.2000) (Metro-North and Gottshall “focused on whether emotional

                                                                      16 injuries were generally compensable under FELA, rather than upon the specific

                                                                      17 cause of action.”); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 755 (M.D.N.C.

                                                                      18 2014) (“Federal courts have consistently applied the zone of danger test to all stand-

                                                                      19 alone emotional distress claims.”).

                                                                      20         3. Finding Plaintiffs’ Claims Sufficient Would Invite the Exact Policy
                                                                      21            Consequences the Supreme Court Warned Against

                                                                      22         COVID-19 is a pandemic. Many of its carriers can be pre-symptomatic or
                                                                      23 asymptomatic, thereby not exhibiting any symptoms.5 If a plaintiff can recover for

                                                                      24 emotional distress based on a fear of exposure to a widespread disease like COVID-

                                                                      25
                                                                           “Interim Clinical Guidance for Management of Patients with Confirmed Coronavirus Disease
                                                                           5
                                                                      26
                                                                         (COVID-19), Centers for Disease Control and Prevention (May 20, 2020),
                                                                      27 https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-management-patients.html;
                                                                         “How to Protect Yourself and Others,” Centers for Disease Control and Prevention,
                                                                      28 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.

                                                                                                                     11
                                                                           DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-04997-RGK-SK
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                                                                       1 19, there will be no limit on who can recover in the wake of the pandemic. See

                                                                       2 Weissberger, supra. Any business or other venue alleged to have opened its doors a

                                                                       3 day too soon could be open to claims of negligence by anyone who stepped inside

                                                                       4 and afterward fears they may have come into contact with a source of COVID-19.

                                                                       5 This concern is even more significant in relation to a widespread and often

                                                                       6 undetectable disease like COVID-19. Airline and public transportation will prove

                                                                       7 impossible. Individuals who attend a football game, eat at a restaurant, or shop at

                                                                       8 stores will all have potential emotional distress claims based entirely on having been

                                                                       9 allowed into a venue where someone later is found to have tested positive.

                                                                      10         As this Court has previously found, allowing claims such as those of
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                                                                      11 Plaintiffs’ herein to proceed endorses the “nearly infinite and unpredictable liability
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                                                                      12 for defendants” that Gottshall and Metro-North expressly set out to prevent. Ayers,
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                                                                      13 538 U.S. at 146; see also Weissberger, supra. Courts will be confronted with a
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                                                                      14 “flood” of cases in which they “would be forced to make highly subjective

                                                                      15 determinations concerning the authenticity of claims for emotional injury, which are

                                                                      16 far less susceptible to objective medical proof than are their physical counterparts.”

                                                                      17 Gottshall, 512 U.S. at 552. Businesses will in effect become insurers for the mental

                                                                      18 well-being of everyone who passes through their doors.

                                                                      19         Rejection of Plaintiffs’ unprecedented theory is all the more important in the
                                                                      20 maritime context. A “fundamental interest of federal maritime jurisdiction” is “the

                                                                      21 protection of maritime commerce.” The Dutra Grp. v. Batterton, 139 S. Ct. 2275,

                                                                      22 2287 (2019) (quotation marks omitted). The Supreme Court, recognizing that

                                                                      23 maritime law is increasingly legislative in nature, has urged courts to resist judicial

                                                                      24 expansions of liability and remedies that would “frustrate” this protective purpose.

                                                                      25 Id. Allowing unpredictable and potentially crushing liability for ocean carriers to

                                                                      26 potentially all of their passengers in the wake of a pandemic would so seriously
                                                                      27 inhibit maritime commerce that, even if Metro-North did not forbid liability by its

                                                                      28 terms, principles of maritime law would independently require dismissal.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                       1      C. Plaintiffs’ Fail to Allege Non-Trivial Physical Injury Caused by Distress
                                                                       2         To further guard against open-ended liability based on fear of illness, courts
                                                                       3 impose, as an independent and additional requirement, that the claimed emotional

                                                                       4 distress must cause non-trivial physical consequences. “General maritime law

                                                                       5 requires an ‘objective manifestation’ of the emotional injury—a physical injury or

                                                                       6 effect which arises from the emotional injury.” Wyler v. Holland Am. Line-USA,

                                                                       7 Inc., 2002 WL 32098495, at *1 (W.D. Wash. Nov. 8, 2002); accord Martinez v.

                                                                       8 Bally’s Louisiana, Inc., 244 F.3d 474, 477-478 (5th Cir. 2001); Duet v. Crosby

                                                                       9 Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La. Dec. 16, 2008) (“Plaintiff’s

                                                                      10 emotional distress was not provoked by a physical injury, rather, plaintiff’s physical
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                                                                      11 injury was provoked by emotional distress”); Tassinari v. Key W. Water Tours, L.C.,
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                                                                      12 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007) (Requiring physical manifestation of
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 emotional injury for stand-alone emotional distress claims.)
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                                                                      14         Courts impose this physical-harm requirement because it “furnishes a
                                                                      15 ‘guarantee of genuineness’ to the fact-finder, thus limiting the prospects for a flood

                                                                      16 of fraudulent claims.” Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403,

                                                                      17 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp. 2d at 1325 (S.D. Fla. 2007)

                                                                      18 (citing “the beneficial public policy of placing an objective and easily applied

                                                                      19 restriction on frivolous claims”). Under this rule, minor physical consequences are

                                                                      20 insufficient. See, e.g., Williams, 907 F. Supp. at 407 (plaintiffs could not recover

                                                                      21 even though they were in the zone of danger because they “complain[ed] only of

                                                                      22 fear and/or seasickness which in most cases lasted no more than a few days”);

                                                                      23 Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir. 1992) (barring recovery

                                                                      24 for emotional distress where the plaintiff suffered “trivial” injuries, including upset

                                                                      25 stomach, headache, and pulled muscles); Ellenwood v. Exxon Shipping, 795 F.

                                                                      26 Supp. 31, 35 (D. Me. 1992) (loss of sleep and loss of appetite insufficient).
                                                                      27         Plaintiffs’ Complaint contains no allegation of any physical manifestations of
                                                                      28 their emotional distress, yet alone the serious and significant physical manifestation

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                       1 which is required. As explained, such allegations are a prerequisite to stating a claim

                                                                       2 for emotional distress, even when the plaintiff meets the zone of danger test (which

                                                                       3 Plaintiffs here have not). Plaintiffs’ allegations that they “suffer from emotional

                                                                       4 distress” and are “traumatized” from fear are exactly the sorts of generalized

                                                                       5 allegations of fear and anxiety that courts have held are clearly insufficient to

                                                                       6 support a claim for emotional distress. Supra; see, e.g., Williams v. Carnival Cruise

                                                                       7 Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995). Even if Plaintiffs had adequately

                                                                       8 pled both that they contracted COVID-19 as a result of Defendant’s conduct and had

                                                                       9 pled facts sufficient to establish they were actually within the zone of danger to

                                                                      10 contract the virus, their claims would nonetheless fail for the separate reason that
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                                                                      11 they have not adequately pled a physical manifestation of their emotional distress.
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                                                                      12      D. Punitive Damages are Foreclosed as a Matter of Law
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                                                                      13         Assuming Plaintiffs’ claims could go forward on the merits, Plaintiffs’ claims
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                                                                      14 for punitive damages are foreclosed as a matter of law and should therefore be

                                                                      15 dismissed under Rule 12(b)(6) or stricken under Rule 12(f). The Supreme Court has

                                                                      16 recently clarified several important limitations on the availability of punitive

                                                                      17 damages in maritime cases, all of which make clear that punitive damages are

                                                                      18 unavailable in cases alleging only emotional distress—at least where that distress is

                                                                      19 not intentionally inflicted. In The Dutra Group v. Batterton, 139 S. Ct. 2275 (2019),

                                                                      20 the Supreme Court set forth a framework for deciding when punitive damages are

                                                                      21 available under general maritime law, and then applied that framework to hold that

                                                                      22 punitive damages are unavailable in claims for unseaworthiness. First, where there

                                                                      23 is no federal statute authorizing punitive damages, courts must determine “whether

                                                                      24 punitive damages have traditionally been awarded” in the category of case at issue.

                                                                      25 Id. at 2283. If they are not, then the imposition of punitive damages is precluded.

                                                                      26 See Dunn v. Hatch, 792 F. App’x 449, 451 (9th Cir. 2019) (Batterton “held that
                                                                      27 punitive damages cannot be recovered on claims in admiralty where there is no

                                                                      28 historical basis for allowing such damages”). If the imposition of punitive damages

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                       1 would create “bizarre disparities in the law,” that further counsels against their

                                                                       2 availability. Batterton, 139 S. Ct. at 2287. And in determining whether to permit

                                                                       3 punitive damages, courts must proceed “cautiously in light of Congress’s persistent

                                                                       4 pursuit of uniformity in the exercise of admiralty jurisdiction.” Id. at 2278 (Miles v.

                                                                       5 Apex Marine Corp., 498 U.S. 19, 27 (1986)).

                                                                       6         Under this framework, Plaintiffs cannot recover punitive damages. While the
                                                                       7 Ninth Circuit has occasionally upheld the imposition of punitive damages for certain

                                                                       8 claims under general maritime law, see Churchill v. F/V Fjord, 892 F.2d 763, 772

                                                                       9 (9th Cir. 1998), Defendant is aware of no binding precedent supporting the

                                                                      10 imposition of punitive damages for negligently (even grossly negligently) inflicted
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                                                                      11 emotional distress. To the contrary, any “tradition” of punitive damages in maritime
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                                                                      12 cases is limited to cases where the defendant’s conduct is truly “outrageous”—cases
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                                                                      13 of “enormity or deplorable behavior.” Dunn, 792 F. App’x at 452. And some courts
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                                                                      14 have held expressly that punitive damages are unavailable to “personal injury

                                                                      15 claimants … except in exceptional circumstances such as willful failure to furnish

                                                                      16 maintenance and cure to a seaman (who are viewed as special wards of the court

                                                                      17 requiring additional protection), intentional denial of a vessel owner to furnish a

                                                                      18 seaworthy vessel to a seaman, and in those very rare situations of intentional

                                                                      19 wrongdoing.” In re Amtrak Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept.

                                                                      20 22, 1993, 121 F.3d 1421, 1429 (11th Cir. 1997). As in Batterton, the absence of case

                                                                      21 law supporting the availability of punitive damages in suits for negligently inflicted

                                                                      22 emotional distress “is practically dispositive.” Id. at 2284.

                                                                      23         Even if the history of punitive damages under maritime law were more
                                                                      24 equivocal (which it is not), the imposition of punitive damages here would create the

                                                                      25 same “bizarre disparit[y] in the law” that demanded foreclosure of punitive damages

                                                                      26 in Batterton. The Court there noted that, if punitives were permitted for
                                                                      27 unseaworthiness claims, “a mariner could make a claim for punitive damages if he

                                                                      28 was injured onboard a ship, but,” because of the Court’s prior decision in Miles, “his

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                       1 estate would lose the right to seek punitive damages if he died from his injuries.”

                                                                       2 139 S. Ct. at 2287 (emphasis added). The same disjoint would occur here, as the

                                                                       3 Death on the High Seas Act (DOHSA) expressly forbids the imposition of punitive

                                                                       4 damages for deaths caused by incidents more than three miles offshore.                     See 46
                                                                       5 U.S.C. § 30303 (allowing damages only for “pecuniary loss”); Batterton, 139 S. Ct.

                                                                       6 at 2285 n.8. Under Plaintiffs’ theory, passengers alleging exposure to a disease on

                                                                       7 the high seas can freely recover punitive damages if they never contracted the

                                                                       8 disease, and yet, if those same passengers died from the disease, DOHSA would

                                                                       9 squarely bar their claim for punitive damages. To avoid that arbitrary differential

                                                                      10 treatment, and to properly “pursue the policy expressed in congressional
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                                                                      11 enactments” like DOHSA, punitive damages must be foreclosed. Id. at 2281.
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                                                                      12          The policies that drive strict application of the zone of danger test in
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                                                                      13 emotional-distress cases, see supra section III.B, further cement that punitive
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                                                                      14 damages cannot be available in cases involving emotional distress based on alleged

                                                                      15 disease exposure. To the extent that liability alone did not create the “infinite and

                                                                      16 unpredictable liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of

                                                                      17 punitive awards,” Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would

                                                                      18 make that threat an unavoidable reality. The mere allegation that plaintiff might be

                                                                      19 entitled to recover punitive damages will only further the flood of litigation that the

                                                                      20 Supreme Court has so clearly warned against in fear of disease cases. The open-

                                                                      21 ended threat of punitive damages would encourage more frivolous fear of disease

                                                                      22 cases and hobble “maritime commerce”—the “fundamental interest served by

                                                                      23 federal maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.6

                                                                      24       E. Plaintiffs’ Complaint Violates Federal Rule of Civil Procedure 8
                                                                      25          Dismissal is warranted as the Complaint violates Rule 8 by incorporating into
                                                                      26
                                                                           Even if punitive damages were available, the Supreme Court has held that “under maritime law,
                                                                           6

                                                                      27 the maximum ratio of punitive damages to compensatory damages is 1-1.” Exxon Valdez v. Exxon
                                                                         Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this Court does not dismiss or strike the request for
                                                                      28 punitive damages altogether, the Court should limit Plaintiffs’ damages accordingly.

                                                                                                                          16
                                                                           DEFENDANT’S MOTION TO DISMISS                                             2:20-CV-04997-RGK-SK
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                                                                       1 each claim all of the previous paragraphs in the Complaint. (See Compl. ¶¶ 22, 28,

                                                                       2 33, and 46). This practice of “shotgun” pleading has been rejected. Spindler v.

                                                                       3 California, 2020 WL 2559442, at *5 (C.D. Cal. Jan. 20, 2020); Stanislaus Food

                                                                       4 Products Co. v. USS-POSCO Industries, 2010 WL 3521979, at *31 n.16 (E.D. Cal.

                                                                       5 Sept. 3, 2010) (Incorporating “each preceding paragraph, regardless of relevancy,

                                                                       6 [is] not permitted.”); Destfino v. Kennedy, 2008 WL 4810770, at *3 (E.D. Cal. Nov.

                                                                       7 3, 2008), aff'd, 630 F.3d 952 (9th Cir. 2011) (“This practice [of wholesale

                                                                       8 incorporation of prior allegations] has been harshly criticized as a form of ‘shotgun

                                                                       9 pleading’ which violates Rule 8’s requirement of a ‘short and plain statement’ and

                                                                      10 interferes with the court’s ability to administer justice.”); Sollberger v. Wachovia
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                                                                      11 Securities LLC, 2010 WL 2674456, at *4-5 (C.D. Cal. June 30, 2010) (incorporating
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                                                                      12 every allegation by reference “deprives Defendants of knowing exactly what they
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                                                                      13 are accused of doing wrong,” and “alone warrants dismissal”). “The Court has
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                                                                      14 recognized that allowing shotgun pleadings would lead to many negative

                                                                      15 consequences.” Sollberger, at *4; see also Mason v. County of Orange, 251 F.R.D.

                                                                      16 562, 563–64 (C.D.Cal.2008) (“[U]nless cases are pled clearly and precisely, issues

                                                                      17 are not joined, discovery is not controlled, the trial court’s docket becomes

                                                                      18 unmanageable, the litigants suffer, and society loses confidence in the court's ability

                                                                      19 to administer justice.”).

                                                                      20      F. Plaintiffs’ Breach-of-Contract Claim Fails
                                                                      21         As an initial matter, this Court has dismissed Complaints that allege a breach-
                                                                      22 of-contract but fail to either attach the contract or delineate the terms of the contract

                                                                      23 which obligate the Defendant, noting that such a “breach-of-contract claim has no

                                                                      24 factual basis.” Lam v. Liberty Mut. Group, Inc., 2017 WL 4682712, at *2 (C.D. Cal.

                                                                      25 May 18, 2017), aff'd, 716 Fed. Appx. 646 (9th Cir. 2018). Here Plaintiffs do not

                                                                      26 attach the contract, and do not identify what oral or written contract they claim was
                                                                      27 breached. As the alleged breached terms do not exist in the Passage Contract,

                                                                      28 Defendant has no idea what contract they claim was breached.

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                                                                       1         Assuming the Court is inclined to entertain Plaintiffs’ breach-of-contract
                                                                       2 claim, the Complaint still fails to satisfy the elements of a breach-of-contract claim.

                                                                       3 “To adequately state a claim for breach of contract, Plaintiff must allege the

                                                                       4 following elements: (1) existence of a contract; (2) his or her performance of the

                                                                       5 contract; (3) the defendant's breach; and (4) resulting damages.” OJ Insulation, Inc.

                                                                       6 v. First Speciality INS. Co., 2011 WL 13116734, at *2 (C.D. Cal. Feb. 10, 2011).

                                                                       7 Plaintiff has failed to plead damages, as Plaintiffs rely upon the boilerplate claim

                                                                       8 that Plaintiffs “have been damaged in an amount to be shown according to proof at

                                                                       9 trial.” (Compl. ¶26.) Plaintiff’s breach-of-contract claim is precisely the sort of

                                                                      10 “[t]hreadbare recital [] of the elements of a cause of action” that cannot defeat a
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                                                                      11 motion to dismiss. Ashcroft v. Iqbal, (2009) 556 U.S. 662, 678. Assuming Plaintiffs
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                                                                      12 allege emotional damages stemming from the alleged breach-of-contract, such
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                                                                      13 damages are unavailable as a matter of law. See Carden v. NW. Airlines, Inc., 2005
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                                                                      14 WL 8155001, at *4 (C.D. Cal. Aug. 26, 2005)(“In California, damages for

                                                                      15 emotional distress are generally not recoverable in breach of contract actions,”

                                                                      16 unless “the express object of the contract is the mental and emotional well-being of

                                                                      17 one of the contracting parties.”). This claim is also barred by the Supreme Court’s

                                                                      18 decision in Metro-North. Metro-North’s zone of danger test governs all claims

                                                                      19 seeking emotional distress, whether or not styled as claims of “negligent infliction

                                                                      20 of emotional distress.” See Smith v. Union Pac. R.R. Co., 236 F.3d 1168, 1171 (10th

                                                                      21 Cir.2000) (Metro-North and Gottshall “focused on whether emotional injuries were

                                                                      22 generally compensable under FELA, rather than upon the specific cause of action.”);

                                                                      23 Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 755 (M.D.N.C. 2014) (“Federal

                                                                      24 courts have consistently applied the zone of danger test to all stand-alone emotional

                                                                      25 distress claims.”).

                                                                      26      G. Plaintiff Alleges an Incorrect Standard of Care Under a California
                                                                      27         Statute Which Is Preempted by Maritime Law

                                                                      28         When a case falls within a court’s maritime jurisdiction, then “substantive

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04997-RGK-SK
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                                                                       1 maritime law”—not state law—“controls the claim, ‘whatever the forum or asserted

                                                                       2 basis of jurisdiction.’ ” Adamson v. Port of Bellingham, 907 F.3d 1122, 1125-26 (9th

                                                                       3 Cir. 2018) (quoting Unigard Sec. Ins. Co. v. Lakewood Eng’g & Mfg. Corp., 982

                                                                       4 F.2d 363, 366 n.1 (9th Cir. 1992)); see E. River S.S. Corp. v. Transamerica Delaval,

                                                                       5 Inc., 476 U.S. 858, 864 (1986) (“With admiralty jurisdiction comes the application

                                                                       6 of substantive admiralty law.”). As a key purpose of maritime jurisdiction is to

                                                                       7 protect maritime commerce, maritime law applies to the exclusion of state law

                                                                       8 whenever state law “conflict[s] with federal law or interfere[s] with the uniform

                                                                       9 working of the maritime legal system.” Pac. Merch. Shipping Ass’n v. Aubry, 918

                                                                      10 F.2d 1409, 1422 (9th Cir. 1990). Plaintiffs should not be permitted to circumvent
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                                                                      11 Metro North, adopted into the body of maritime law by Negron, by relying upon a
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                                                                      12 state law which would undermine the uniformity of the well settled body of
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                                                                      13 maritime law. That is paradigmatically true where a plaintiff seeks to impose a
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                                                                      14 standard of liability different from the federal standard, see e.g., State of Md. Dep't

                                                                      15 of Nat. Res. v. Kellum, 51 F.3d 1220, 1226 (4th Cir. 1995). In such circumstances, it

                                                                      16 is “improper[]” to “allow[] [a party] to proceed with … putatively ‘non-maritime’

                                                                      17 counts.” Unigard, 982 F.2d at 366 n.1.

                                                                      18         “Maritime law requires a cruise ship ‘to exercise reasonable care under the
                                                                      19 circumstances of each case.’” Casorio v. Princess Cruise Lines, Ltd., 677 Fed.

                                                                      20 Appx. 361, 362 (9th Cir. 2017) citing Chan v. Soc’y Expeditions, Inc., 123 F.3d

                                                                      21 1287, 1290 (9th Cir. 1997); see also Thompson v. Carnival Corp., 174 F. Supp. 3d

                                                                      22 1327, 1339–40 (S.D. Fla. 2016) (“It is well established that a cruise ship operator

                                                                      23 owes its passengers the duty of exercising reasonable care”) (citing Lugo v. Carnival

                                                                      24 Corp., No. 1:15–CV–21319–KMM, 154 F.Supp.3d 1341, 1345, 2015 WL 9583280,

                                                                      25 at *3 (S.D. Fla. Dec. 31, 2015); Torres v. Carnival Corp., 635 Fed. Appx. 595, 600-

                                                                      26 01 (11th Cir. Nov. 20, 2015)); Kermarec v. Compagnie Generale Transatlantique,
                                                                      27 358 U.S. 625, 630 (1959)(“it is a settled principle of maritime law that a shipowner

                                                                      28 owes the duty of exercising reasonable care”); Everett v. Carnival Cruise Lines, 912

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                                                                       1 F.2d 1355, 1358 (11th Cir. 1990) (citing Keefe v. Bahama Cruise Line, Inc., 867

                                                                       2 F.2d 1318, 1322 (11th Cir. 1989))(“the benchmark against which a shipowner’s

                                                                       3 behavior must be measured is ordinary reasonable care under the circumstances”).

                                                                       4 “To require more would be to impose a higher burden on common carriers than

                                                                       5 California law requires.” Casorio at 362.

                                                                       6         Plaintiffs attempt to hold Princess to a higher standard of care by pleading
                                                                       7 that Defendant “owed a duty of utmost care of a very cautious person.” (Compl. ¶

                                                                       8 29). Such a duty is not cognizable under and is preempted by maritime law. See

                                                                       9 Thompson, 174 F. Supp. 3d at 1342. Plaintiffs’ allegations based on an improper

                                                                      10 heightened standard of care should be dismissed with prejudice because they fail as
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                                                                      11 a matter of law. Stires v. Carnival Corp., 243 F. Supp. 2d 1313, 1318 (M.D. Fla.
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                                                                      12 2002) (dismissing negligence claim because plaintiff alleged improper heightened
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                                                                      13 standard of care instead of alleging “reasonable care under the circumstances”);
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                                                                      14 Hesterly v. Royal Caribbean Cruises, Ltd., 515 F. Supp. 2d 1278, 1283 (S.D. Fla.

                                                                      15 2007) (same). Dismissal is warranted where “Plaintiff has failed to allege that

                                                                      16 Defendant breached a duty it actually owed to Plaintiff.” See Leftow v. Princess

                                                                      17 Cruise Line, Ltd., 2018 WL 6133714, at *2 (C.D. Cal. Jan. 11, 2018); see also White

                                                                      18 v. NCL Am., Inc. & Norwegian Cruise Line Ltd., 2007 WL 414331, at *2 (S.D. Fla.

                                                                      19 Feb. 6, 2007) (dismissing when “Plaintiff's allegations seek to create a duty on the

                                                                      20 part of the Defendants which is greater than that supported by the case law”).

                                                                      21 V.      CONCLUSION
                                                                      22         For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                      23 to dismiss and to dismiss this case with prejudice.

                                                                      24

                                                                      25 DATED: July 31, 2020                    MALTZMAN & PARTNERS
                                                                                                           By:   s/ Jeffrey B. Maltzman
                                                                      26                                         Jeffrey B. Maltzman
                                                                      27                                         Edgar R. Nield
                                                                                                                 Attorneys for Defendant,
                                                                      28                                         Princess Cruise Lines Ltd.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04997-RGK-SK
